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                                       July 27, 2021

 VIA ECF

 The Honorable Tonianne J. Bongiovanni
 U.S. District Court for the District of New Jersey
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

        Re:    UMG Records, Inc., et al. vs. RCN Telecom Services, LLC, et al.
               Civil Action No. 19-17272-MAS-TJB

 Dear Judge Bongiovanni:

         This firm represents Defendants in the above-referenced matter. We write jointly
 on behalf of Defendants, Plaintiffs, and Counterclaim-Defendants Rightscorp, Inc. and
 Recording Industry Association of America (“RIAA”) to request a 45-day extension of:
 (1) the deadline for the submission of written discovery disputes (from July 28, 2021 to
 September 13, 2021)1 and (2) the deadline for the close of fact discovery (from October
 28, 2021 to December 13, 2021). See ECF No. 157.

         The principal cause for these extensions is that Brad Newberg, counsel for
 Counterclaim-Defendant Rightscorp, Inc., intends to file a motion to withdraw from the
 case this week because he is leaving private practice, and Rightscorp requires additional
 time to identify and secure replacement counsel. Defendants did not learn of this issue
 until late last week, when counsel for the parties held a meet and confer concerning
 Rightscorp’s document production. It appears that Rightscorp may not be in a position to
 respond substantively to the issues raised in the meet and confer until Rightscorp’s new
 counsel becomes educated on the case.

        Additionally, there are a number of outstanding items concerning discovery,
 including issues related to privilege logs, supplementing written discovery responses, and
 completing productions of responsive documents and data. The parties are actively
 meeting and conferring regarding these issues, but some or all may require further


   The parties recognize that additional disputes regarding written discovery may come to
 light later, for example where a deficiency in a party’s document production is revealed
 in deposition.
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 conferences and the Court’s intervention if the parties are unable to resolve them
 informally.

         Good cause exists for the requested extensions. The parties agree that these
 extensions are necessary and appropriate. No depositions have been scheduled or taken
 in this matter, and the Court has yet to set any deadlines beyond the current October 28,
 2021 deadline for the close of fact discovery.

        For these reasons, the parties respectfully request that the above deadlines be
 extended as follows for good cause shown: (1) the deadline for the submission of written
 discovery disputes be extended from July 28, 2021 to September 13, 2021; and (2) the
 deadline for the completion of all fact discovery be extended from October 28, 2021 to
 December 13, 2021.

         We have included a “So Ordered” provision at the end of this letter in the hope
 that this extension is acceptable to the Court.


                                           Respectfully Submitted,

                                           /s/ Edward F. Behm, Jr.

                                           Edward F. Behm, Jr.


 EFB:gc
 CC: All counsel of record via ECF



 The above Application is SO ORDERED this ___ day of July, 2021.

 ______________________________
 The Honorable Tonianne J. Bongiovanni
